UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF INDIANA

In re:
EASTERN LIVESTOCK CO., LLC

Debtor.

Case No.: 10-93904-BHL-11

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AFFIDAVIT IN SUPPORT OF MOTION TO APPEAR PRO HAC VICE

James B. Johnston, being first duly sworn upon his oath, states as follows:

I am a practicing attorney, duly licensed to practice, and currently in good standing in:

Court(s) Date(s) of Admission (month/year)
Texas Supreme Court May 1985
U.S. District Court, Northern District of Texas March 1986

My license has never been suspended or revoked, and I am not currently subject to other
disciplinary action with respect to the practice of law.

[ affirm, under the penalties for perjury, that the foregoing representations are true and
correct to the best of my knowledge, information, and belief.

Nan BX Sano

Jame B. Johnston

Further affiant sayeth not.

ACKNOWLEDGMENT
STATE OF TEXAS §
COUNTY OF DEAF SMITH §

Before me, a notary public in and for said county and state, personally appeared
James B. Johnston, and being first duly sworn upon his oath, says that the facts alleged in
the foregoing instrument are true.

Signed and sealed this 30" day of December, 2010.

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MARIA GUILLERMINA ARMENDARIZ
NOTARY PUBLIC

STATE OF TEXAS

iy Commission Expires 08-14-2014

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Notary Public

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